                                           RE: Newsom v. Trump - amicus curiae
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         Subject: RE: Newsom v. Trump - amicus curiae
         From: Megan Richards <Megan.Richards@doj.ca.gov>
         Date: 6/10/25, 9:30 AM
         To: "Andrew G. Watters" <andrew@watters.law>, Laura Faer <Laura.Faer@doj.ca.gov>,
         "christopher.edelman@usdoj.gov" <christopher.edelman@usdoj.gov>
         CC: Lorraine Lopez <Lorraine.Lopez@doj.ca.gov>, Nicholas Espiritu
         <Nicholas.Espiritu@doj.ca.gov>, "eric.hamilton@usdoj.gov" <eric.hamilton@usdoj.gov>

         Mr. Watters,

         Plaintiffs take no position on your request.

         Megan Richards
         Deputy Attorney General
         California Attorney General’s Office
         Government Law Section
         455 Golden Gate Avenue, Suite 11000
         San Francisco, CA 94102 | Tel: 415-510-3526
         Megan.Richards@doj.ca.gov


         -----Original Message-----
         From: Andrew G. Watters <andrew@watters.law>
         Sent: Tuesday, June 10, 2025 9:01 AM
         To: Laura Faer <Laura.Faer@doj.ca.gov>; christopher.edelman@usdoj.gov
         Cc: Lorraine Lopez <Lorraine.Lopez@doj.ca.gov>; Megan Richards <Megan.Richards@doj.ca.gov>;
         Nicholas Espiritu <Nicholas.Espiritu@doj.ca.gov>; eric.hamilton@usdoj.gov
         Subject: Newsom v. Trump - amicus curiae

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         Dear Ms. Faer and Mr. Edelman,

         I am a lawyer in California with my own small law firm. Part-time resident of Los Angeles
         County, and admitted in the Northern District plus the Central District.

         I'm reaching out to ask whether the parties would stipulate to allow an amicus curiae brief from
         a small group of concerned California attorneys that would support the Defendants. The nature of
         the interest in the action is twofold: one, the attorney oath taken by all California-admitted
         attorneys, including the Deputy Attorneys General who filed this case, is the following:

         I, (licensee name) solemnly swear (or affirm) that I will support the Constitution of the United
         States and the Constitution of the State of California, and that I will faithfully discharge the
         duties of an attorney and counselor at law to the best of my knowledge and ability.
         As an officer of the court, I will strive to conduct myself at all times with dignity, courtesy
         and integrity.

         As you can see, the Oath requires attorney allegiance to the U.S.
         Constitution, and there are other duties imposed by statute and/or case law requiring California
         attorneys to uphold Federal law. On this issue, the amicus brief would argue that in the
         scenario of this action, this group of California government attorneys is violating their oaths
         by filing a frivolous action/publicity stunt in an attempt to obstruct the President from
         fulfilling his duty to enforce Federal law, which takes precedence over the duty to support the
         California governor's policy positions under the Supremacy Clause. Thus, the action is subject
         to Rule 11 sanctions for being knowingly contrary to the Constitution and duties of every
         attorney. Other California attorneys have a strong interest in the outcome of this issue,
         because to hold State officials to a different standard that permits flagrant challenges to
         Federal authority is to deny equal protection of the law to civilian attorneys who get in trouble
         for far less.

         Two, on the merits, the brief will argue that the legal positions taken in the complaint are



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         patently ridiculous. For example, the claim that "no real property is involved" in the action--
         false because the Federal facilities, buildings, destruction, and occupation by the National
         Guard is all upon real property in the Central District, making the Northern District the wrong
         venue. Further, the brief will argue that the Court cannot restrain the President from enforcing
         Federal law and/or suppressing insurrection-- especially when the deployment meets the criteria
         under the applicable statute when a Governor refuses to uphold State law and thereby denies
         citizens their rights, among other issues.
         To hold otherwise would be to allow a District Court to interfere with the President's duty to
         protect the United States and each State from Invasion, plus the President's ability to wage war.
         This case could set a dangerous precedent by attempting to restrict waging war to a judicial
         committee, instead of war led by the elected leader of our country.

         I realize that your respective sides have this one handled, but as an interested, affected party,
         attorney, part-time resident of the Central District, and concerned citizen, I would like to have
         my and my group's voice heard in this matter. Thank you for your consideration.

         Best,

         Andrew Watters

         --
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         7QYqz4&m=KX_UbSLgG1t0RQ-gG4P6tAHnev5iwBmpEmWqkc6hGHnk95A-z0NeqH7s891q-
         ogm&s=3XlZZmFYxj1SJNhoSuBuk7rIvtD9SVTBWNXhB11kJsM&e=

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